Case 8:14-cv-02096-VMC-EAJ Document 132 Filed 05/26/15 Page 1 of 7 PageID 3213




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 ROCA LABS, INC.,                                Case No: 8:14-cv-02096-VMC-EAJ

             Plaintiff,

       v.

 CONSUMER OPINION CORP. and
 OPINION CORP.,

             Defendants.
                                             /



                          OPPOSITION TO MOTION TO COMPEL
       Defendants Consumer Opinion Corp. and Opinion Corp. hereby oppose
 Plaintiff Roca Labs, Inc.’s (“Roca Labs”) Motion to Compel Defendants to
 Designate FRCP 30(b)(6) Corporate Representatives for Depositions and to
 Compel Depositions to Occur at Date, Time and Location Certain (Doc. # 129)
 (the “Motion to Compel”).
                    MEMORANDUM OF POINTS AND AUTHORITIES

 1.0   The Parties Have Resolved All Issues Raised in Plaintiff’s Motion to Compel,
       Rendering It Moot
       Counsel for Roca Labs did not comply with L.R. 3.01(g)’s requirement that
 counsel meet and confer before filling Plaintiff’s motion. The only discussion
 about the matters took place via email, wherein Plaintiff’s counsel repeatedly
 evaded defendants’ efforts to elucidate what in particular Plaintiff was seeking.
 On May 26, 2015, however, the parties did, albeit belatedly, meet and confer by
 telephone, and the entirety of the relief sought by Plaintiff on its Motion to




                                         1
Case 8:14-cv-02096-VMC-EAJ Document 132 Filed 05/26/15 Page 2 of 7 PageID 3214




 Compel was resolved, rendering Plaintiff’s application moot. In particular, as set
 forth in the Declaration of Alex J. Shepard [“Shepard Decl.”], attached as Exhibit
 1, counsel agreed that the depositions of Michael Podolsky and Alex Syrov,
 principals of Defendants, would take place on June 6 and 7, 2015, in New York
 and that depositions for Defendants’ corporate representative witnesses under
 Fed. R. Civ. P. 30(b)(6) would take place on June 8 and 9, 2015 in New York.
 (Shepard Decl. ¶¶ 2-5.) Counsel further agreed on all other depositions; that no
 depositions would take place on June 11; that Dr. Thomas Parisi’s deposition
 would take place on June 12; and that Dr. Ed Nagelhout’s deposition would
 take place on June 13. (Shepard Decl. ¶¶ 6-8.) Counsel agreed that one
 additional deposition, that of Jennifer Schaive, could take place on either June
 14 or 15, 2015. (Shepard Decl. ¶ 9.)
          Counsel also agreed that the only issue raised in the Motion that was not
 resolved during this conversation was the question of whether Defendants were
 required to identify the designated corporate representative witnesses it would
 produce under Fed. R. Civ. P. 30(b)(6) prior to their depositions, or whether
 Defendants’ obligation extends only to producing persons able to testify with
 sufficient knowledge of the matters of the June 8 and 9 depositions. (Shepard

 Decl. ¶ 10.) The issue, Defendants explained, was a matter of timing and logistics,
 not tactics. While this issue remains unresolved, the parties did agree that
 30(b)(6) witnesses would appear on those dates and that the parties would
 endeavor to research and identify the appropriate legal standard and to abide
 by it.
          Counsel for all parties have already resolved the issues presented in the
 Motion to Compel. This Court should thus narrow its consideration of the Motion
 to Compel solely to the issue of whether Defendants are required to specifically




                                          2
Case 8:14-cv-02096-VMC-EAJ Document 132 Filed 05/26/15 Page 3 of 7 PageID 3215




 name and identify their Rule 30(b)(6) witnesses prior to the depositions
 scheduled for June 8 and 9, 2015.
 2.0   Defendants Are Not Required to Specifically Identify Their Rule 30(b)(6)
       Witnesses In Advance of the Witnesses’ Depositions
       Defendants’ research on the aforementioned issue suggests that, in fact,
 a corporate deponent has no obligation to name its 30(b)(6) witnesses prior to a
 deposition. As the Court explained in In re Bricam Am. LLC Equip. Lease Litig.,
 2013 U.S. Dist. LEXIS 142841 at *66 (S.D. Fla. Oct. 1, 2013), “the essence of a
 30(b)(6) deposition is to permit the corporation to designate an adequate
 corporate representative to testify, Thus, neither the [parties] nor the Court
 should specifically identify the witness(es) that [the party] will present at the
 deposition to testify on the topics identified.” This on-point holding puts the
 question to rest.
       As a matter of logistics, again, Defendants are in the process of
 determining which of their officers would best serve as 30(b)(6) witnesses. The
 most appropriate person to testify regarding the identified 30(b)(6) topics
 actually resides in Ukraine, which as the Court may know is not only a vast
 distance from this District but is essentially a war zone. For this reason, producing

 the ideal designee may prove difficult. Defendants, however, can and will
 provide a suitable witness to testify at the 30(b)(6) depositions, but require time
 and flexibility in Identifying that person. Again, notwithstanding that Defendants
 are not attempting to hide the ball, under the law Roca Labs is not entitled to
 know the identity of a particular 30(b)(6) witness until the deposition begins
 because the identity of that designee is irrelevant. The entire purpose of Rule
 30(b)(6) is to designate a person to speak for the deponent corporation,
 regardless of that witness’s personal knowledge. See QBE Ins. Corp. v. Jordan
 Enters., 277 F.R.D. 676, 688 (S.D. Fla. 2012) (citing United States v. Taylor, 166 F.R.D.


                                            3
Case 8:14-cv-02096-VMC-EAJ Document 132 Filed 05/26/15 Page 4 of 7 PageID 3216




 356, 361 (M.D.N.C. 1996 and Ecclesiastes 9:10-11-12, Inc. v. LMC Holding Co., 497
 F.3d 1135, 1147 (10th Cir. 2007)).
       For these reasons, Roca Labs’ insistence on compelling the identity of the
 specific 30(b)(6) witnesses Defendants will produce weeks in advance of the
 scheduled deposition is not supported by law and, under the circumstances,
 would be unduly burdensome and unreasonable. Given that this is the sole issue
 that is actually in contention, the Court should deny Plaintiff’s Motion to Compel.
 3.0   Even Without the Agreement of the Parties as to Nearly All Issues in the
       Motion to Compel, the Motion Should Have Been Denied on the Merits
       Even if the parties had not reached an agreement resolving nearly all
 issues raised in Plaintiff’s Motion to Compel (once there was an actual meet and
 confer), the motion should have been denied on its merits. Defendants
 respectfully submit that it is appropriate to make a record of that fact in this
 submission, especially considering that, again, the motion was made in frank
 disregard of L.R. 3.01(g)’s meet and confer mandate.
       As indicated in the Deposition Notices of Defendants’ witnesses pursuant
 to Fed. R. Civ. P. 30(b)(6), attached as Exhibit 2, the relief sought by Roca Labs’
 motion was at best poorly defined and at worst patently irrelevant – a failure by

 the party seeking discovery to meet its affirmative obligation to demonstrate the
 relevance of proposed corporate representative testimony. See, Zorn v.
 Principal Life Ins. Co., 2010 U.S. Dist. LEXIS 84721, *4, 2010 WL 3282982 (S.D. Ga.
 Aug. 18, 2010). As a general rule, the matters designated under rule 30(b)(6)
 must be tied to claims at issue in the case and structured to address questions
 related to those claims. See Doe v. Yorkville Plaza Assocs., C.A. No. 92 Civ. 8250,
 1996 U.S. Dist. LEXIS 8683, at **19-20 (S.D.N.Y. June 21, 1996) (noting that
 designated matters not limited in time or scope to facts relevant to the case at




                                          4
Case 8:14-cv-02096-VMC-EAJ Document 132 Filed 05/26/15 Page 5 of 7 PageID 3217




 issue were overly broad, irrelevant, and improper). Roca Labs’ 30(b)(6)
 deposition notices do not meet this standard.
       To briefly refresh the Court’s recollection, Roca Labs claims in this lawsuit
 that because third parties have posted reviews of Roca Labs’ product,
 company, and customer service on the <pissedconsumer.com> website,
 Opinion Corp. and Consumer Opinion Corp. are somehow liable for defamation,
 violations of FDUTPA, and tortious interference. Yet the Interrogatories, Requests
 for Production, outline of proposed deposition topics, and non-party subpoenas
 previously served concern matters that are not reasonably calculated to lead to
 discovery of issues related to those claims. Instead, they are directed at how
 Opinion Corp. operates its website, who Opinion Corp.’s customers are, and
 how Opinion Corp. promotes its website. None of these factors are at all
 relevant to the case at hand -- particularly with regard to defendant Consumer
 Opinion Corp., which merely owns the PISSED CONSUMER trademark and
 licenses it to Opinion Corp.
       Under Fed. R. Civ. P. 30(b)(6), a party must “describe with reasonable
 particularity the matters for examination.” Courts regularly enforce the
 “reasonable particularity” requirement and hold that a generic notice of

 deposition is insufficient. QBE Ins. Corp. v. Jorda Enters., 277 F.R.D. 676, 688 (S.D.
 Fla. 2012). Furthermore, see, e.g., Kalis v. Colgate-Palmolive Co., 231 F.3d 1049,
 1058 (7th Cir. 2000); Alexander v. Federal Bureau of Investigation, 188 F.R.D. 111,
 114 (D. D.C. 1998) (rejecting notice to depose on “any matters relevant to this
 case” as not meeting the “reasonable particularity” requirement); Prokosch v.
 Catalina Lighting, Inc., 193 F.R.D. 633, 638 (D. Minn. 2000) (holding that “the
 requesting party must take care to designate, with painstaking specificity, the
 particular subject areas that are intended to be questioned, and that are
 relevant to the issues in dispute”). Roca Labs has manifestly failed to do this, and


                                           5
Case 8:14-cv-02096-VMC-EAJ Document 132 Filed 05/26/15 Page 6 of 7 PageID 3218




 as a result, its proposed topics of deposition here are too broad to allow
 Defendants’ counsel to properly prepare a corporate representative or, indeed,
 to select corporate representatives to appear at deposition.
       For this reason alone, Plaintiff’s Motion to Compel should be denied in its
 entirety. Nevertheless, the Court can rest assured that 30(b)(6) representatives,
 prepared to the extent possible to testify, will be present at the depositions. If the
 questions asked of them require consultation with additional representatives, the
 baton will change hands so that any relevant inquiries can be met with
 complete disclosure, unless the parties stipulate that the questioning is, in fact,
 overly broad and not calculated to lead to the discovery of relevant, admissible
 evidence or this Court is asked to make that determination.



                                                     Respectfully Submitted,

                                                     Marc J. Randazza
                                                     ________________________
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                                           6
Case 8:14-cv-02096-VMC-EAJ Document 132 Filed 05/26/15 Page 7 of 7 PageID 3219




                                                 CASE NO.: 8:14-cv-02096-VMC-EAJ

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on 26 May 2015, I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF. I also certify that a true
 and correct copy of the foregoing document is being served upon counsel for
 Plaintiff, via transmission of Notices of Electronic Filing generated by CM/ECF.



                                                    ________________________
                                                    An employee / agent of
                                                    RANDAZZA LEGAL GROUP




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